36 F.3d 1107
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Luis A. LARIOS, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondent.
    No. 94-3394.
    United States Court of Appeals, Federal Circuit.
    June 7, 1994.
    MSPB
    
      1
      DISMISSED.
    
    ORDER
    
      2
      A petition for review of an initial decision of the Merit Systems Protection Board having been timely filed, and it appearing that the petitioner has also sought review before the Board, it is
    
    
      3
      ORDERED that the petition for review be, and it hereby is, DEACTIVATED, and it is
    
    
      4
      FURTHER ORDERED that the Board shall transmit to this court either notice that the Board has accepted the petition for review as timely filed or the Board's order dismissing the petition for review as untimely.
    
    